Case 2:21-cv-07607-RGK-JEM   Document 291   Filed 10/03/23   Page 1 of 5 Page ID
                                  #:3945
Case 2:21-cv-07607-RGK-JEM   Document 291   Filed 10/03/23   Page 2 of 5 Page ID
                                  #:3946
Case 2:21-cv-07607-RGK-JEM   Document 291   Filed 10/03/23   Page 3 of 5 Page ID
                                  #:3947
Case 2:21-cv-07607-RGK-JEM   Document 291   Filed 10/03/23   Page 4 of 5 Page ID
                                  #:3948
Case 2:21-cv-07607-RGK-JEM   Document 291   Filed 10/03/23   Page 5 of 5 Page ID
                                  #:3949
